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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

UNITED STATES OF AMERICA,                   :            CRIMINAL ACTION NO.
                                            :            1:04-CR-0218-CC-1
vs.                                         :
                                            :            CIVIL ACTION NO.
NIKITA W. HARPER,                           :            1:16-CV-2203-CC
                                            :
                     Defendant.             :

                               OPINION AND ORDER

       This matter is before the Court on Defendant’s Motion to Vacate, Set Aside,

or Correct Sentence Under 28 U.S.C. § 2255 (the “Motion to Vacate”) [Doc. No.

213]. For the reasons set forth below, the Court DENIES the Motion to Vacate.

I.     BACKGROUND

       On November 4, 2005, after having been previously convicted of Georgia

robbery and aggravated assault (twice),1 Defendant Nikita W. Harper


1
 Defendant has a lengthy criminal history. The Government accurately summarized it
as follows:

       Defendant’s adult criminal history began when he was 17 years old and
       committed simple battery by striking a woman in her face with his fist. (PSR
       at ¶ 93). That same year, Defendant was convicted of theft by receiving a
       stolen car. (Id. at ¶ 94). In addition, in 1990 Defendant robbed two victims
       by force. (Id. at ¶ 95). The following year, in 1991, Defendant was convicted
       of theft by receiving a stolen car, carrying a concealed weapon, and
       attempting to elude a police officer. (Id. at ¶ 96). During the next few years,
       Defendant was convicted of entering an automobile with the intent to
       commit a theft, speeding, and criminal trespass. (Id. at ¶¶ 97-99). In 1996,
       Defendant was convicted of his first aggravated assault. (Id. at ¶ 100).
       During this offense, Defendant shot a man with a pistol. (Id.). That same
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(“Defendant”) was found guilty by a jury of the following crimes: armed bank

robbery (Counts One, Four, and Six), possession of a firearm during the

commission of the bank robberies in violation of 18 U.S.C. § 924(c) (Counts Two,

Five, and Seven), and possession of a firearm by a convicted felon in violation of

18 U.S.C. § 922(g) (Count Three). (Doc. No. 145.) At Defendant’s sentencing

hearing on February 1, 2006, the Court determined that Defendant qualified for an

enhanced sentence under both the Armed Career Criminal Act (“ACCA”), 18

U.S.C. § 924(e), 2 and the career offender provision of the United States Sentencing

Guidelines. The Court imposed the following sentence: 180 months on each of

the armed bank robberies, to run concurrently to each other; 180 months on the §

922(g) crime, to run consecutively to the robbery sentences; 84 months on the first

18 U.S.C. § 924(c) charge, to run consecutively to all the other counts; 300 months



       year, Defendant was convicted of reckless driving and attempting to elude
       police officers, and of possessing marijuana with the intent to distribute.
       (Id. at ¶¶ 101-102). Four years later, in 2000, Defendant was convicted of
       forgery in the first degree; possessing marijuana with the intent to
       distribute; possessing a firearm as a convicted felon; and driving with a
       suspended license (three times). (Id. at ¶¶ 103-109). Also in 2000, Defendant
       was convicted of his second aggravated assault, this time for assaulting two
       police officers with the automobile he was driving. (Id. at ¶ 107).

(Doc. No. 218 at 2-3.)

2
 A felon-in-possession offense under 18 U.S.C. § 922(g) generally carries a 10-year
maximum sentence. See 18 U.S.C. § 924(a)(2). Under the ACCA, where a defendant has
three prior felony convictions that qualify as violent felonies, serious drug offenses, or a
combination of both, the § 922(g) carries a mandatory minimum penalty of 15 years of
imprisonment and a maximum penalty of life imprisonment. 18 U.S.C. § 924(e)(1).
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on the second § 924(c) count, to run consecutively to all the other counts; and 300

months on the third § 924(c) count, to run consecutively to all the other counts, for

a total sentence of 1,044 months in prison. (Doc. No. 21, 154.)

      Defendant filed a direct appeal with the Eleventh Circuit Court of Appeals.

(Doc. No. 155.) In that appeal, Defendants asserted the following five arguments:

(1) that the district court abused its discretion in not conducting an evidentiary

hearing on Defendant’s second supplemental motion to suppress; (2) that the

district court abused its discretion in permitting law enforcement agents to testify

about an interview they conducted with Defendant’s wife; (3) that the district court

committed plain error in permitting agents to testify about their interview with

Defendant’s wife in violation of the Confrontation Clause; (4) that the district court

imposed an unreasonable sentence; and (5) that United States v. Alemendarez-

Torres, 523 U.S. 124, 118 S. Ct. 1219 (1998), is no longer good law. (Doc. No. 182.)

The Eleventh Circuit Court of Appeals affirmed Defendant’s convictions and

sentences. (Id.) Defendant filed a petition for writ of certiorari, which the Supreme

Court denied on October 17, 2007. (Doc. No. 183.)

      On March 31, 2014, Defendant filed his first motion under 18 U.S.C. § 2255,

alleging that his prior convictions for Georgia robbery and aggravated assault no

longer qualified as ACCA predicates after the issuance of Descamps v. United

States, 570 U.S. 254, 133 S. Ct. 2276, 186 L. Ed. 2d 438 (2013). (Doc. No. 187.) This
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Court denied the § 2255 motion, holding that it was time-barred. (Doc. No. 209.)

Thereafter, Defendant applied for and received permission from the Eleventh

Circuit to file this second or successive § 2255 motion to challenge his ACCA

sentence.3 (Doc. No. 212.)

      Defendant presently challenges his enhanced sentence under the ACCA,

pursuant to Johnson, which held that the ACCA’s residual clause is

unconstitutionally vague and that the imposition of an enhanced sentence under

that residual clause violates due process.4 Defendant argues that he is no longer,

by law, an armed career criminal because his prior convictions for aggravated

assault and robbery are no longer ACCA violent felonies. He contends he is

entitled to relief under § 2255 because his current ACCA-enhanced sentence

exceeds the statutory maximum and violates due process of law. Defendant

concedes that the outcome of his total sentence may or may not remain unchanged,

given the sentences on the robberies and § 924(c) counts, but he maintains he is

still entitled to relief from his ACCA sentence and deserves to have a new

sentencing hearing.




3
  The Eleventh Circuit denied the application in part by forbidding Defendant from
challenging his career offender sentences on the bank robbery counts in this proceeding.
(Doc. No. 212 at 9.)
4
  The Supreme Court has held that Johnson is retroactive to ACCA cases on collateral
review. Welch v. United States, - - - U.S. - - -, 136 S. Ct. 1257, 1268, 194 L. Ed. 2d 387
(2016).
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II.    DISCUSSION

       A felon in possession of a firearm who has three prior felony convictions

that qualify as violent felonies is subject to an enhanced statutory penalty under

the ACCA. 18 U.S.C. § 924(e)(1). The term “violent felony” is defined as any crime

punishable by a term of imprisonment exceeding one year that:

       (i) has as an element the use, attempted use, or threatened use of
       physical force against the person of another; or (ii) is burglary, arson,
       or extortion, involves use of explosives, or otherwise involves
       conduct that presents a serious potential risk of physical injury to
       another.

Id. § 924(e)(2)(B). The first prong is known as the “elements” clause, while the

second prong contains the “enumerated crimes” and “residual” clauses. United

States v. Owens, 672 F.3d 966, 968 (11th Cir. 2012). Neither aggravated assault nor

robbery is set forth in the statute as an enumerated crime. See 18 U.S.C. §

924(e)(2)(B)(ii). Further, as stated above, the Supreme Court has found the residual

clause unconstitutionally vague. Johnson, 576 U.S. at 595-97. Therefore, only the

elements clause is a proper basis for Defendant’s ACCA-enhanced sentence to be

upheld.

       The parties agree regarding the legal framework applicable to Defendant’s

Johnson claim. The Court’s analysis is governed by Beeman v. United States, 871

F.3d 1215 (11th Cir. 2017).     Under Beeman, the Court must assess whether

Defendant is alleging “he was unconstitutionally sentenced under the residual
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clause, not that he was incorrectly sentenced under the elements or enumerated

offenses clauses.” Carmichael v. United States, 758 F. App’x 860, 862 (11th Cir.

2019). Beeman held that a defendant who challenges his ACCA sentence under

Johnson fails to carry his burden of proof under § 2255 unless he demonstrates that

the sentencing court relied solely upon the residual clause in arriving at the

defendant’s sentence. 871 F.3d at 1222. “If it is just as likely that the sentencing

court relied on the elements or enumerated offenses clause, solely or as an

alternative basis for the enhancement,” the defendant has failed to carry his

burden. Id.

      “Whether the residual clause was the basis for the sentencing court’s

enhancement is a question of ‘historical fact.’” United States v. Pickett, 916 F.3d

960, 963 (11th Cir. 2019). “To determine this historical fact[,]” the Court must “look

first to the record, and then, if the record proves underdeterminative,” the Court

“can look to the case law at the time of sentencing.” Id. (quotations and citations

omitted). If the Court ultimately must look to the case law to determine this

historical fact, Defendant has the burden of establishing that the “law was clear at

the time of sentencing that only the residual clause would authorize a finding that

the prior conviction was a violent felony.” Beeman, 871 F.3d at 1224 n.5.

      Here, there is no dispute that the record in this case does not indicate

whether the Court’s imposition of the ACCA-enhanced sentenced was based on
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the residual clause. In this regard, Defendant has not pointed to any comments or

findings by the undersigned during sentencing indicating reliance on the residual

clause. At the sentencing hearing, Defendant agreed that his two prior aggravated

assault convictions qualified as “violent felonies” under the ACCA and that he

also had a prior drug trafficking conviction.5 (Doc. No. 168-1 at 6-9.) Likewise,

Defendant has not pointed to any statements in the presentence report

recommending that the enumerated clause and elements clause did not apply, and

the Court finds that the presentence report is silent on the issue. In his briefing on

the instant § 2255 motion, Defendant expressly concedes: “We must begin with a

review of Mr. Harper’s presentence report and the sentencing transcript, but

neither tells us which clause of the ACCA (residual or elements) the Court used.”

(Doc. No. 232 at 2.)

      Given that Defendant has not offered any evidence in the record of this case

showing that he was sentenced under ACCA’s residual clause, the Court’s

historical inquiry must focus on the case law at the time of sentencing. Having

reviewed the briefing on this issue, the Court finds that Defendant has failed to

point to case law holding, or otherwise making obvious, that a violation of either

Georgia’s aggravated assault statute or robbery by force statute “qualified as a


5
 Defendant argued only that his prior robbery conviction should not qualify as a
“violent felony” under the ACCA because “he was a party to the crime of robbery and
not a perpetrator of the violence.” (PSR at 23.)
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violent felony only under the residual clause.” Beeman, 871 F.3d at 1224 (footnote

omitted).

      A.     Aggravated Assault Convictions

      In an effort to show that such precedent did exist at the time of sentencing

with respect to the aggravated assault convictions, Defendant relies primarily on

Patterson v. State, 299 Ga. 491, 789 S.E.2d 175 (2016), United States v. Palomino

Garcia, 606 F.3d 1317 (11th Cir. 2010), and United States v. Moss, 920 F.3d 752 (11th

Cir.), rehearing en banc granted, opinion vacated, 928 F.3d 1340 (11th Cir. 2019).

The Court has reviewed these cases and considered Defendant’s arguments

carefully, and the Court finds that they do not enable Defendant to make the

requisite showing under Beeman.        These cases do not enable Defendant to

establish that the “law was clear at the time of sentencing that only the residual

clause would authorize a finding that the prior [aggravated assault] conviction[s]

w[ere] [ ] violent felon[ies].” Beeman, 871 F.3d at 1224 n.5 (emphasis added).

      B.     Robbery by Force Conviction

      With respect to the robbery by force conviction, Defendant also maintains

that the case law makes obvious that the conviction qualified only under the

ACCA’s residual clause at the time of the sentencing hearing. The Georgia statute

regarding robbery by force provides that a defendant commits robbery when, with

intent to commit theft, he takes another’s property:
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      (1) By use of force;

      (2) By intimidation, but the use of threat or coercion, or by placing such
          person in fear of immediate serious bodily injuries to himself or to
          another; or

      (3) By sudden snatching.

O.C.G.A. § 16-8-40. Georgia’s robbery statute is divisible, making it subject to the

modified categorical approach to determine whether a robbery conviction is an

ACCA predicate conviction. Lloyd v. United States, No. 17-13276-K, 2018 WL

7108249, at *3 (11th Cir. Oct. 31, 2018) (“Georgia’s robbery statute is divisible and

subject to the modified categorical approach.”).

      According to Defendant, binding state precedent indicates that the robbery

by force statute does not categorically include the active employment of violent

force. As pointed out by Defendant, the Georgia Supreme Court has stated the

following regarding “force”:

      Force implies actual personal violence, a struggle and a personal
      outrage. If there is any injury done to the person, or if there is any
      struggle to keep possession of the property before it is taken from
      him, there will be sufficient force or actual violence to constitute
      robbery. . . . “Force,” in the sense in which it is used in defining the
      offense of robbery, consists in personal violence or that degree of force
      that is necessary to remove articles so attached to the person or
      clothing as to create resistance, however slight.

Henderson v. State, 209 Ga. 72, 74, 70 S.E.2d 713 (1952); see Curtis Johnson v.

United States, 559 U.S. 133, 138, 130 S. Ct. 1265, 176 L. Ed.2d 1 (2010) (noting that

federal courts are “bound” by a state supreme court’s “interpretation of state law,
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including its determination of the elements” of a criminal offense “in determining

whether a felony conviction . . . meets the definition of ‘violent felony’ in 18 U.S.C.

§ 924(e)(2)(B)(i)”).

       The question for the Court is whether the aforementioned interpretation of

robbery by force meets the definition of “violent felony” under the elements

clause. Curtis Johnson defines the “violent force” necessary under the elements

clause as that “capable of causing physical pain or injury to another person.” 559

U.S. at 140. Defendant emphasizes that a robbery by force in Georgia may be

accomplished by any degree of force at all, “however slight,” and states that the

degree of force required under the Georgia statute falls short of the “violent force”

standard mandated in Curtis Johnson. The Court disagrees.

       As an initial matter, based on its placement, the “however slight” language

seemingly modifies “resistance,” not the degree of force necessary to constitute a

robbery by force. The Court further rejects Defendant’s argument that a robbery

by force may be accomplished by any degree of force at all. Rather, Henderson

teaches that it must be “that degree of force that is necessary to remove articles so

attached to the person or clothing as to create resistance, however slight.” 209 Ga.

at 74 (emphasis added). The degree of force required for robbery by force is

distinguishable, for example, from the de minimis force associated with a robbery

by snatching, which occurs “where no other force is used than is necessary to
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obtain possession of the property from the owner, who is off his guard, and where

there is no resistance by the owner or injury to his person.” Edwards v. State, 224

Ga. 684, 686, 164 S.E.2d 120 (1968).

      Robbery by force involves the use of actual physical force and is not the

mere touching of a person to remove his or her property. See Henderson, 209 Ga.

at 74. In Henderson, for example, the Supreme Court of Georgia held that where

the defendant pointed a gun at the victim to cause the victim to surrender the

property, the evidence was not sufficient to sustain a conviction of robbery by

open force because the robbery was completed only by intimidation and without

the use of any force. Id. Likewise, in Barksdale v. State, 24 Ga. App. 115, 100 S.E.

45 (1919), which the Henderson court cited with approval and quoted, the court

held that “[e]vidence that the defendant held a pistol in a threatening and

intimidating manner over the victim of an alleged robbery, while his confederates

ran their hands through the pockets of the victim, and without violence relieved

the latter of his money and other loose valuables unattached to the person or

clothing, authorize[d] a conviction of robbery by intimidation, but not of robbery

by force.” Id. at 115. The Georgia Court of Appeals reasoned that the robbery had

been accomplished without “force.” Id.

      Robbery by force involves injury to the victim or a struggle that is capable

of causing or increases the risk of such injury. See, e.g., Montos v. State, 212 Ga.
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764, 765, 95 S.E.2d 792 (1956), overruled on other grounds by White v. State, 273

Ga. 787, 546 S.E.2d 514 (2001) (holding that evidence was sufficient to uphold

robbery by force conviction where “defendant grabbed [victim], hauled her

around, tried to hold her, tore her dress off her, and, after all of that, finally ripped

off her brassiere, pulled the billfold from a pigskin bag pinned with a safety pin

therein, [while] she at all times [was] resisting and trying to get away”); Brown v.

State, 214 Ga. App. 733, 733-34, 449 S.E.2d 136 (1994) (holding that evidence was

sufficient to uphold robbery by force conviction where the defendant struggled

with the victim, grabbed her face, tried to put his hands around her neck, started

trying to squeeze her, and, while the victim was fighting and screaming, grabbed

a canvas bag of rolled coins from behind the driver’s seat).

      In sum, Defendant has not pointed to any precedent in 2006 holding, or

otherwise making obvious, that a violation of Georgia’s robbery by force statute

qualified as a violate felony only under the residual clause. Robbery by force in

Georgia has long necessitated the use of violent force, making it a violent felony

under the ACCA’s elements clause. Accordingly, Defendant’s robbery by force

conviction satisfied the ACCA three-conviction threshold for enhancement as an

armed career criminal, and Johnson has no impact on the validity of Defendant’s

sentence. Under Beeman, Defendant’s Johnson claim fails.
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III.    CONCLUSION

        Based on the foregoing, the Court DENIES Defendant’s Motion to Vacate,

Set Aside, or Correct Sentence Under 28 U.S.C. § 2255 [Doc. No. 213].

                                                                XXX
        The Clerk is DIRECTED to close Civil Action No. 1:16-CV-2164-CC.
                                                                2203
        SO ORDERED this 9th day of November, 2020.



                               s/ CLARENCE COOPER
                               CLARENCE COOPER
                               SENIOR UNITED STATES DISTRICT JUDGE
